            Case: 21-1786 Document:
Case 2:20-cv-13134-LVP-RSW          94 PageID.7498
                           ECF No. 217, Filed: 04/09/2024    Page: 1 Page 1 of 1
                                                      Filed 04/09/24




                                        Case No. 21-1786

                          UNITED STATES COURT OF APPEALS
                               FOR THE SIXTH CIRCUIT

                                               ORDER

TIMOTHY KING, et al.

             Plaintiffs

 and

GREGORY J ROHL; BRANDON JOHNSON; HOWARD KLEINHENDLER; SIDNEY
POWELL; JULIA HALLER; SCOTT HAGERSTROM

             Interested Parties - Appellants

v.

GRETCHEN WHITMER; JOCELYN BENSON; CITY OF DETROIT, MI

             Defendants - Appellees



BEFORE: BOGGS, Circuit Judge; KETHLEDGE, Circuit Judge; WHITE, Circuit Judge;


       Upon consideration of the appellants’ motion to recall the mandate issued February 21,

2024

       It is ORDERED that the motion is DENIED.

                                                 ENTERED BY ORDER OF THE COURT
                                                 Kelly L. Stephens, Clerk


 Issued: April 09, 2024
